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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Peerless Indemnity Insurance Company,                     Court File No. 15-cv-4112 (ADM/LIB)

                       Plaintiff,

         v.                                               ORDER

Sushi Avenue, Inc.,

                       Defendant.


         This matter comes before the undersigned United States Magistrate Judge pursuant to a

general assignment made in accordance with the provisions of 28 U.S.C. § 636(b)(1)(A), upon

Defendants’ Motion to Compel, [Docket No. 33]. The Court held a Motions Hearing on

November 28, 2016, and ordered the parties to engage in a further, in-person meet-and-confer on

issues identified on the record by the Court. (Nov. 28, 2016, Motions Hearing, Digital Record,

1:48-50). The Court held the Motion in abeyance until the parties submitted a Joint Letter by

email on December 9, 2016, and thereafter the Court took the Motion under advisement.

         For the reasons discussed below, the Court GRANTS IN PART AND DENIES IN

PART Defendants’ Motion to Compel, [Docket No. 33].

   I.         BACKGROUND AND STATEMENT OF ALLEGED FACTS

         Peerless Indemnity Insurance Company (“Plaintiff”) is an Illinois corporation that has its

principal place of business in Boston, Massachusetts, and is licensed to sell insurance in

Minnesota. (Compl., [Docket No. 1], 2).

         Sushi Avenue, Inc., (“Defendant”) is a Minnesota corporation with its principal place of

business in Eagan, Minnesota. (Id. at 2; Answer, [Docket No. 9], 2). Defendant is in the business
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of selling sushi and related products in kiosks located in supermarkets in Minnesota and other

states. (Compl., [Docket No. 1], 2]; Answer, [Docket No. 9], 2). In doing so, Defendant

generally enters into a contract, (“the Contract”) with individuals who then operate the kiosks

(“operators”). (Compl., [Docket No. 1], 2; Answer, [Docket No. 9], 2; Mem. in Supp., [Docket

No. 34], 2-3). The Contract requires the operators to provide workers compensation insurance

that is sufficient to protect both the operator and Defendant from potential claims. (Compl.,

[Docket No. 1], 3; Answer, [Docket No. 9], 2; Berglund Dec., Exh. D, [Docket No. 43-1], 17).

Defendant claims that the operators are independent contractors, but that Defendant also has

employees, such as the regional managers who work with the operators. (Mem. in Supp.,

[Docket No. 34], 2-3).

       Plaintiff provided Defendant with workers compensation insurance for Defendant’s

employees for two policy periods: March 19, 2013, through March 19, 2014, and March 19,

2014, through February 15, 2015. (Harrington Aff., [Docket No. 36], 1). For the first policy

period, Plaintiff estimated that Defendant’s premium would be $46,864; for the second policy

period, the estimated premium was $39,630. (Id.). The policies provided that Plaintiff would

determine the final premium after the end of each policy term, “using the actual, not the

estimated, premium basis and the proper classifications and rates that lawfully apply to the

business and work covered by this policy,” and Defendant would then pay to Plaintiff any

difference between the final premium and the estimated premium already paid to Plaintiff.

(Berglund Dec., Exh. A, [Docket No. 43-1], 2).

       On April 2, 2014, Plaintiff sent Dawn Mathison, a Senior Premium Auditor with Liberty

Mutual Insurance, to conduct a physical audit of the first policy period. (Mem. in Supp., [Docket

No. 34], 3). She reviewed actual payroll, form 1099s, and form 941s, as well as a copy of the


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Contract. (Id. at 4). Based on her analysis, Mathison concluded the operators were not

independent contractors but that Defendant and the operators had an employer/employee

relationship. (Id.; Mem. in Opp., [Docket No. 42], 3).

       On April 4, 2014, Mathison emailed Catie Sebolt, a Commercial Lines Underwriter at

Liberty Mutual Insurance, a copy of the Contract; Mathison stated her belief that there was an

employer/employee relationship between Defendant and the operators. (Mem. in Supp., [Docket

No. 34], 4; Harrington Aff., Exh. 5, [Docket No. 36], 83). Four days later, Sebolt replied, stating:

“I can see where there is concern for this account and would appreciate if you would hold off on

processing the audit at this time. I believe we need to consult our legal department on some of

the items in the contract you sent me a copy of.” (Mem. in Supp., [Docket No. 34], 4; Harrington

Aff., Exh. 5, [Docket No. 36], 83).

       In May 2014, Nicole Roy, the Commercial Lines Underwriting Manager for Business

Insurance at Liberty Mutual Insurance, informed Mathison that she had heard from the legal

department and would contact Mathison about it. (Mem. in Supp., [Docket No. 34], 4;

Harrington Aff., Exh. 6, [Docket No. 36], 84).

       On August 4, 2014, Mathison informed her field audit manager, James Slaski, that she

had finished the audit. (Mem. in Supp., [Docket No. 34], 5; Harrington Aff., Exh. 7, [Docket No.

36], 85). In the audit, Mathison identified the kiosk operators as employees, and adjusted the

premium accordingly, resulting in a premium increase of $389,354. (Mem. in Supp., [Docket No.

34], 5; Harrington Aff., [Docket No. 36], 2).

       On August 24, 2014, Roy emailed Mathison asking her to validate her figures. (Mem. in

Supp., [Docket No. 34], 6; Harrington Aff., Exh. 9, [Docket No. 36], 90). When Mathison

indicated that the figures were correct, Roy emailed Mathison again, stating that the operators


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were “sole proprietors and not required to carry insurance coverage.” (Mem. in Supp., [Docket

No. 34], 6; Harrington Aff., Exh. 9, [Docket No. 36], 90-91). Subsequently, it appears that

Mathison undertook independent legal research.

       In a September 5, 2014, email to Defendant’s insurance agent, Melissa Marroquin of

Hornig Insurance Agency, Mathison stated: “I did a great deal of research today as to what is

needed in NY, IL and MN to relieve Sushi Avenue of the Employee/Employer status for their

Independent Contractors. I’ve attached supporting documents for each.” (Mem. in Supp.,

[Docket No. 34], 6; Harrington Aff., Exh. 10, [Docket No. 36], 91-93). Mathison explained her

research and her conclusions regarding the respective states’ workers compensation laws. (Mem.

in Supp., [Docket No. 34], 7; Harrington Aff., Exh. 10, [Docket No. 36], 91-93).

       Plaintiff and Defendant could not resolve the additional audit premium for the first policy

period, so Plaintiff cancelled the workers compensation coverage for the second policy period,

effective March 18, 2015. (Mem. in Supp., [Docket No. 34], 7; Harrington Aff., [Docket No. 36],

2). The following month, Mathison began a cancellation audit for the second policy period.

(Mem. in Supp., [Docket No. 34], 7). Using the figures obtained in the audit of the first policy

period, Mathison prorated the cancellation audit and found an additional premium required for

that period of $357,640. (Id.; Harrington Aff., [Docket No. 36], 2; Harrington Aff., Exh. 11,

[Docket No. 36], 94).

       On May 14, 2015, when Defendant had not paid either additional premium amount,

Defendant’s account was assigned to Curlette Alexander, a senior receivables analyst at Liberty

Mutual Insurance. (Mem. in Supp., [Docket No. 34], 7; Harrington Aff., Exh. 12, [Docket No.

36], 95).




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       Defendant continued to dispute the classification of the operators as employees and on

May 19, 2015, provided Plaintiff with documentation from an audit that the Minnesota

Department of Revenue had conducted which concluded that the operators were properly

classified as independent contractors. (Mem. in Supp., [Docket No. 34], 7-8; Harrington Aff.,

Exh. 13-14, [Docket No. 36], 96-121). The audit had reviewed the propriety of Defendant

classifying the operators as independent contractors for tax purposes for tax years 2007 through

2009. (Harrington Aff., Exh. 14, [Docket No. 36], 98). The final letter from the Minnesota

Department of Revenue stated: “[W]e have determined that your Minnesota withholding tax was

correctly reported.” (Id. at 120).

       Nonetheless, in an email on June 25, 2015, Timothy Zepnick, Plaintiff’s regional Vice

President, stated that Plaintiff’s position had not changed and Plaintiff did not think the

Minnesota Department of Revenue audit controlled the classification of the operators as

employees or independent contractors for these purposes. (Mem. in Supp., [Docket No. 34], 8;

Harrington Aff., Exh. 15, [Docket No. 36], 123-24).

       On November 13, 2015, Plaintiff filed the present Complaint, claiming breach of contract

based on Defendant’s failure to pay the additional premiums for workers compensation insurance

under the Policy. (Compl., [Docket No. 1], 4-5). Plaintiff seeks a declaratory judgment stating

that the operators are Defendant’s employees and should be included when calculating

Defendant’s premium. (Id. at 5-6). Plaintiff also seeks a judgment in the amount of the unpaid

premiums, as well as appropriate costs and attorney’s fees. (Id. at 6-7).

       In its Answer, Defendant disputes Plaintiff’s ability to independently determine whether

the kiosk operators are employees or independent contractors without taking into account what

Defendant terms a “legal determination or adjudication” regarding the operators’ classification.


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(Answer, [Docket No. 9], 3). Defendant alleges that the Minnesota Department of Revenue’s

conclusion that the operators were properly classified as independent contractors controls. (Id. at

1-2). Defendant also raised multiple affirmative defenses. (Id. at 5-6).

        On April 22, 2016, Defendant served Plaintiff with its First Set of Interrogatories and

Requests for Production. (Mem. in Supp., [Docket No. 34], 9; Harrington Aff., [Docket No. 36],

2; Mem. in Opp., [Docket No. 42], 4). Document Request No. 8 asked for: “All documents

relating to [Plaintiff’s] assertion . . . that [Plaintiff was] required to include both [Defendant’s]

independent contractors and their employees in [Defendant’s] worker[]s compensation rating

calculation.” (Berglund Dec., Exh. E, [Docket No. 43-1], 24). Document Request No. 9 asked

for: “All documents relating to [Plaintiff’s] assertion . . . that [Defendant] is legally responsible

for providing workers[] compensation benefits to the employees of [Defendant’s] independent

contractors.” (Id.).

        In response, Plaintiff provided 1,015 documents and a Redaction Log dated June 7, 2016,

which identified 37 documents redacted due to attorney/client privilege and/or the work product

doctrine. (Mem. in Supp., [Docket No. 34], 9; Harrington Aff., [Docket No. 36], 2, 6-11).

        On September 8, 2016, Defendant informed Plaintiff that it believed the claims of

attorney-client privilege or the work product doctrine regarding those documents referenced in

the Redaction Log were improper because an attorney was not always identified as a creator or

recipient of the communication. (Mem. in Supp., [Docket No. 34], 9).

        The same day, Defendant received documents in response to Plaintiff’s subpoena of non-

party Hornig Insurance Agency (Defendant’s insurance broker). (Id. at 10; Harrington Aff.,

[Docket No. 36], 2). Hornig’s documents included emails from Nicole Roy which Plaintiff had

not previously produced to Defendant. (Mem. in Supp., [Docket No. 34], 10).


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       Defendant requested production of unredacted versions of documents identified on the

Redaction Log and the missing correspondence. (Id. at 9). Defendant asserts that Plaintiff

refused, and instead offered to provide an Amended Redaction Log better articulating its

assertions of privilege. (Id. at 9-10). Plaintiff contends that in response to the September 8, 2016,

deficiency letter, Plaintiff did later produce certain requested documents in unredacted form, but

it also maintained its assertion of privilege in regards to others. (Berglund Dec., [Docket No. 43],

1).

       Through depositions it conducted on September 14 and 15, 2016, Defendant learned of

yet more unproduced, written communications it believed were responsive to its document

requests to Plaintiff. (Mem. in Supp., [Docket No. 34], 10; Harrington Aff., [Docket No. 36], 2).

Plaintiff’s counsel acknowledged its own lack of knowledge about certain communications

disclosed during the depositions and agreed to investigate further. (Mem. in Supp., [Docket No.

34], 10; Harrington Aff., [Docket No. 36], 2-3; Mem. in Opp., [Docket No. 42], 6).

       On September 16, 2016, Defendant sent Plaintiff another deficiency letter regarding

discovery. (Mem. in Supp., [Docket No. 34], 10; Harrington Aff., [Docket No. 36], 3). In

response, Plaintiff produced an additional 4,936 pages of documents. (Mem. in Supp., [Docket

No. 34], 10; Harrington Aff., [Docket No. 36], 3; Mem. in Opp., [Docket No. 42], 6). Plaintiff

stated that supplemental production would continue and that it intended to provide a

corresponding Amended Redaction Log. (Mem. in Supp., [Docket No. 34], 10; Harrington Aff.,

[Docket No. 36, 3). Plaintiff produced 367 more documents on October 3, 2016, and 336

documents on October 7, 2016. (Mem. in Supp., [Docket No. 34], 10; Harrington Aff., [Docket

No. 36], 3; Mem. in Opp., [Docket No. 42], 6).




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       As part of this supplemental production, Plaintiff inadvertently disclosed to Defendant a

September 3, 2014, email between Roy and Mathison, which Plaintiff now claims is privileged.

(Mem. in Opp., [Docket No. 42], 7). Plaintiff’s other supplemental production was highly

redacted, but included correspondence between Roy and Plaintiff’s legal department and

revealed its analysis of the Minnesota Department of Revenue audit. (Mem. in Supp., [Docket

No. 34], 10-11). Supplemental production also included Mathison’s file and her analysis and

conclusions during her audit of Defendant. (Id. at 11).

       Plaintiff produced an Amended Redaction Log on October 18, 2016. (Id.; Harrington

Aff., Exh. 2, [Docket No. 36], 12-57; Mem. in Opp., [Docket No. 42], 5; Berglund Dec., [Docket

No. 43], 2). The Amended Redaction Log identified 258 additional documents (for a total of

295) but did not further articulate or explain in any detail Plaintiff’s claims of attorney-client

privilege or the applicability of the work product doctrine with regards to each entry. (Mem. in

Supp., [Docket No. 34], 11).

       Defendant sent another deficiency letter on October 24, 2016, explaining what it saw as

the continuing deficiencies in the Amended Redaction Log. (Id.). Defendant also demanded that

Plaintiff produce “unredacted communications made through June 30, 2015.” (Id.). Plaintiff

refused. Plaintiff stated that the redacted portions of the communications and Mathison’s audit

report were properly withheld on the basis of attorney-client privilege. (Id.). Plaintiff also

asserted that the attorney-client privilege protected Roy’s September 3, 2014, email to Mathison,

which Plaintiff had inadvertently produced and had requested be returned. (Id. at 11-12; Mem. in

Opp., [Docket No. 42], 7). Defendant replied that the document was not privileged and, even if it

was, the privilege had been waived. (Mem. in Supp., [Docket No. 34], 12).




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        On November 14, 2016, Defendant filed the present Motion to Compel, requesting

production of certain documents Plaintiff claimed were privileged. (Motion, [Docket No. 33], 1,

12). Defendant sought production of unredacted versions of 123 documents identified on the

Amended Redaction Log or, in the alternative, asked this Court to review the documents in

camera and determine whether they are actually protected by either the attorney-client privilege

or the work product doctrine. (Mem. in Supp., [Docket No. 34], 13). In addition, Defendant

asked the Court to determine that Roy’s September 3, 2014, email to Mathison is not privileged

or, if it is, that Plaintiff has waived that privilege. (Id.).

        In response, Plaintiff claimed that there are not 122 documents in dispute; some of the

entries on the Amended Redaction Log are duplicative in nature, and one document may include

several redacted portions that correspond to multiple entries on the Amended Redaction Log.

(Mem. in Opp., [Docket No. 42], 5, 8). Plaintiff generally argued that all of the requested

communications are protected by the attorney-client privilege. (Id. at 2). Thus, Plaintiff asked the

Court to deny Defendant’s Motion to Compel. (Id.). In conjunction with its Memorandum in

Opposition, Plaintiff submitted to this Court, unsolicited, what it asserted were unredacted

versions of all of the disputed documents for this Court to review in camera. (Id. at 2, 8).

Accompanying these documents is a “Disputed Communications Index” (“the Index”) that

Plaintiff prepared, which identifies, among other things, the redaction log entries that it

represented refer to duplicate documents.

        The Index breaks the disputed documents into 12 “batches,” which Plaintiff asserted

comprised the entirety of the disputed communications. (Id. at 8 & n.3). The majority of the

batches consist of email conversations between various people. Each individual redacted portion

from an email within the batch is labeled as a part of that batch. For example, Batch 3 consists of


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five emails. Plaintiff has designated the body of the first email, which was redacted in the

discovery produced to Defendant, as part 3-a; the majority of the body of the second email,

which was similarly redacted, is designated as part 3-b, etc.

       The Batches which are not in email format are Batch 1, which appears to be part of

Mathison’s audit, and Batches 11 and 12, which consist of documents that are identified on the

Amended Redaction Log as “work cards.”

       On November 28, 2016, this Court held a Hearing on Defendant’s Motion to Compel, at

which the Court informed the parties of the need to clarify the documents and issues in dispute

before the Court. (Nov. 28, 2016, Motions Hearing, Digital Record, 1:34-38).

       Plaintiff informed the Court, on the record, that it no longer asserts that the attorney

work-product doctrine renders any of the sought documents privileged. (Id. at 1:47-48). The

parties also agreed, on the record, that the only documents in dispute are those communications

dated June 29, 2015, or earlier. (Id. at 1:42-45). Noting that Defendant had not seen a copy of the

Disputed Communications Index, which purported to identify which entries on the Amended

Redaction Log were duplicates, as well as, which documents had already been produced in

unredacted form, this Court directed the parties to engage in a further meet-and-confer in an

effort to agree upon exactly which documents remain in dispute. (Id. at 1:35-39, 1:48-50). The

parties were instructed to identify any entries on the Amended Redaction Log that were

duplicative, and then through a Joint Letter to the Court (1) inform the Court whether it has all of

the documents which are in dispute, (2) inform the Court whether there are any documents in its

possession that do not require review, and (3) identify the documents the Court has that the

parties wish it to review in camera. (Id. at 1:50-51, 2:06-08). The Court also directed the parties

to provide any supplemental documents for the Court to review if necessary. (Id. at 1:50-51).


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         On December 12, 2016, the parties filed their Joint Letter, stating their agreement that the

Disputed Communications Index fairly and accurately represents the communications that are

currently in dispute. The parties did not identify any specific documents in the Court’s

possession as no longer being in dispute or duplicative, nor did they submit any supplemental

documents or communications.

         Upon receipt of the Joint Letter, the Court took the matter under advisement.

   II.      Standards of Review

         Federal Rule of Civil Procedure 26(b)(1) states:

         Parties may obtain discovery regarding any nonprivileged matter that is relevant
         to any party’s claim or defense and proportional to the needs of the case,
         considering the importance of the issues at stake in the action, the amount in
         controversy, the parties’ relative access to relevant information, the parties’
         resources, the importance of the discovery in resolving the issues, and whether the
         burden or expense of the proposed discovery outweighs its likely benefit.

         Courts generally have construed Rule 26(b)(1) broadly. Oppenheimer Fund, Inc. v.

Sanders, 437 U.S. 340, 351 (1978); see also, Hofer v. Mack Trucks, Inc., 981 F.2d 377, 380 (8th

Cir. 1992) (Rule 26 “is liberal in scope and interpretation, extending to those matters which are

relevant”). Rule 26(b)(5) requires a party withholding information that is otherwise discoverable

by claiming that the information is privileged to “expressly make the claim” and to “describe the

nature of the documents, communications, or tangible things not produced or disclosed—and do

so in a manner that, without revealing information itself privileged or protected, will enable other

parties to assess the claim.”

         This Court has jurisdiction over the case presently before it under 28 U.S.C. § 1332.

Federal Rule of Evidence 501 states that “in a civil case, state law governs privilege regarding a

claim or defense for which state law supplies the rule of decision.” Plaintiff’s claim in this case is



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breach of contract; therefore, the controlling privilege law is state law. See, Morrill v. Becton,

Dickinson & Co., No. 81-112C(C), 1981 WL 138040, *2 (D. E.D. Mo. Sept. 28, 1981); see also,

Union Cty. Ia. v. Piper Jaffray & Co., Inc., 525 F.3d 643, 646 (8th Cir. 2008) (“Because this is a

diversity case, the determination of whether attorney-client privilege is governed by state law.”).

       In Minnesota, “[t]he attorney-client privilege protects from disclosure ‘communications

that seek to elicit legal advice from an attorney acting in that capacity, that relate to that purpose,

and that are made in confidence by the client . . . unless the privilege is waived.’” State v. Taylor,

869 N.W. 2d 1, 21 (Minn. 2015) (citation omitted); see also, Kobluk v. Univ. of Minn., 574

N.W.2d 436, 440 (Minn. 1998).

       Although Minnesota has not explicitly articulated a test for attorney-client privilege in the

corporate arena, it has in the past considered three tests, including a test adopted by the Eighth

Circuit:

       [T]he attorney-client privilege is applicable to an employee’s communication if
       (1) the communication was made for the purpose of securing legal advice; (2) the
       employee making the communication did so at the direction of his [or her]
       corporate superior; (3) the superior made the request so that the corporation could
       secure legal advice; (4) the subject matter of the communication is within the
       scope of the employee’s corporate duties; and (5) the communication is not
       disseminated beyond those persons who, because of the corporate structure, need
       to know its contents.

Leer v. Chicago, M., St. P. & P. Ry. Co., 308 N.W. 2d 305, 308-08 (Minn. 1981) (quoting

Diversified Indus. Inc. v. Meredith, 572 F. 2d 596, 609 (8th Cir. 1977) (en banc)).

       The other two tests the Minnesota Supreme Court has considered for corporate attorney-

client privilege are the “control group” test and the “subject matter” test. Id. at 308. Under the

“control group” test, in which “privilege is determined by whether ‘the employee [is] in a

position to control or take substantial part in a decision about any action to be taken upon the



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advice of the attorney[,] or that the employee [is] a member of a group having such authority.’”

Ewald v. Royal Norwegian Embassy, No. 11-cv-2116 (SRN/SER), 2014 WL 1309095, *10 (D.

Minn. April 1, 2014) (quoting Leer, 308 N.W. 2d at 308). Under the “subject matter” test, the

attorney-client privilege remains intact even if the communication is disseminated to a

corporations employee if “the employee made the communication at the direction of his

supervisor and where the subject matter upon which the lawyer’s advice was sought by the

corporation and dealt with in the communication was within the performance of the employee’s

duties.” Leer, 308 N.W. at 308.

          It is well-established that the party asserting the attorney-client privilege bears the burden

of establishing it. United States v. Williams, 720 F.3d 674, 686 (8th Cir. 2013); Hollins v.

Powell, 773 F.2d 191, 196 (8th Cir. 1985); U.S. Bank Nat’l Assoc. v. PHL Variable Ins. Co., No.

12-cv-877 (JRT/TNL), 2016 WL 1258466, *2 (D. Minn. March 30, 2016).

   III.      Defendants’ Motion to Compel, [Docket No. 33]

             A. Documents Not Properly Before the Court

          As indicated in the parties’ Joint Letter, Defendant asks this Court to order Plaintiff to

disclose all of the documents identified in the Disputed Communications Index and submitted to

this Court for in camera review. However, despite this Court’s clear instruction at the Motions

Hearing to the parties to ensure that only non-duplicative documents requiring the Court’s

consideration remain, it is necessary for the Court to first eliminate certain documents from the

field of consideration.

                 1. Documents Already Produced in Unredacted Form

          The Court notes that the Disputed Communications Index indicates that certain

documents before it have already been produced in unredacted form. For example, the Index


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states that document Bates Numbered P-SA006362, which is identified on the Index as part 6-a,

was “[p]roduced unredacted at P-SA002222.” (See, Index, p.2). Two other entries on the Index

are similarly designated as having been produced elsewhere in unredacted form: part 6-b, and

part 9-c. (See, Index, p. 2-3). The parties’ Joint Letter indicates to this Court that both parties

consider the Disputed Communications Index to be an accurate representation of the documents

in question. Therefore, because Defendant already has these documents in unredacted form, the

Court removes from in camera consideration the redacted information designated in the Disputed

Communications Index as parts 6-a, 6-b, and 9-c.

               2. Duplicative Documents

       Next, the Court also notes that, despite its instructions to the parties at the Motions

Hearing, there are multiple instances in which the redacted information in one batch of

documents is completely contained within another batch, in spite of the Court’s explicit

instruction to the parties to ensure that the documents submitted for in camera review were not

duplicative. In those instances, the Court strikes the lesser Batch from in camera review and does

not consider it since all necessary parts will be considered in the fullest Batch. Accordingly, the

Court strikes from consideration: (1) Batch 8 in its entirety, as the redacted information therein

is fully contained within the redacted information in Batch 7; (2) Batch 11, as the redacted

information therein is fully contained within the redacted information in Batch 9; and (3) Batch

12, as the redacted information therein is fully contained within the redacted information in

Batches 5, 6, 7, 8, and 9.

               3. Documents Outside the Agreed-Upon Dates

       As stated above, the parties discussed in detail on the record at the November 28, 2016,

Motions Hearing, their understanding and agreement that Defendants were seeking unredacted


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versions only of documents dated June 29, 2015, or earlier. Batch 10 consists of an email dated

July 21, 2015. Therefore, it is not within the agreed upon field of review, and this Court strikes it

from the documents submitted for in camera review.

             B. Remaining Disputed Documents

         The Court has conducted a thorough in camera review of the remaining documents. As

explained above, for this Court to find the documents are protected by attorney-client privilege,

Plaintiff must have met its burden to show that (1) the communication was to secure legal

advice, (2) the employee made the communication at the direction of his or her corporate

superior, (3) the superior’s request was to seek legal advice for the corporation, (4) the subject

matter of the communication is within the employee’s corporate duties, and (5) the

communication was not disseminated beyond people who need to know its contents because of

the corporate structure. 1 See, Leer, 308 N.W.2d at 308-09.

         Plaintiff argues that the remaining documents now before this Court satisfy the foregoing

test. (Mem. in Opp., [Docket No. 42], 11-13). As to the first and third factors, Plaintiff contends

that the communications are “with in-house counsel” 2 and/or reflect the legal advice or opinion

of in-house counsel. (Id. at 11-12).

         After review of the disputed documents, the Court agrees with this portion of Plaintiff’s

argument. The Eighth Circuit has instructed that “a matter committed to a professional legal

adviser is prima facie so committed for the sake of the legal advice which may be more or less

1
  The additional tests which have been considered by Minnesota state courts require that the employee’s position
within the company allows him or her to take substantial part in a decision made upon the advice of the attorney and
the subject matter is within the scope of the employee’s duties. Because these requirements may be subsumed by the
factor in the Eighth Circuit’s test that requires that the subject matter be within the employee’s corporate duties, the
Court need not address them individually.
2
  Although Plaintiff did not ever specifically identify corporate counsel or otherwise clearly provide this Court with
corporate counsel’s name, the Court’s own review of the record as a whole identifies Douglas Jenkins as Senior
Corporate Counsel at Liberty Mutual Insurance.



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desirable for some aspect of the matter, and is therefore, within the privilege unless it clearly

appears to be lacking in aspects requiring legal advice.” Diversified Industries, Inc., 572 F.2d at

610. The communications submitted to the Court that remain under consideration are clearly

either communications directly with corporate counsel or communications that convey corporate

counsel’s legal advice or opinions to others. As recognized by the fifth factor in the test for

corporate attorney-client privilege, the latter type of communication is protected as long as it is

not disseminated beyond people who need to know its contents because of the corporate

structure.

        Regarding the second factor, Plaintiff argues:

        [T]he following employees communicated with in-house counsel: Nicole Roy,
        Commercial Lines Underwriting Manager who was in charge of [Defendant’s]
        account; Tim Zepnick, Vice President and Managing Director; Guy Decosterd,
        Zepnick’s superior; and Curlette Alexander, Sr. Receivables Analyst who was in
        charge of collecting the premium. Each of these employees held positions of
        authority such that they did not require corporate approval to request legal advice.

(Mem. in Opp., [Docket No. 42], 12). Without any evidence submitted to the contrary, the Court

accepts Plaintiff’s characterizations of these individuals’ roles within the company and finds that

the second and fourth requirements for corporate attorney-client privilege are met with respect to

the communications between these individuals which are currently before this Court for in

camera review.

        The final factor states that attorney-client privilege only protects communications that are

“not disseminated beyond those persons who, because of the corporate structure, need to know

its contents.” See, Leer, 308 N.W. 2d at 309. This factor parallels the well-established principle

that “voluntary dissemination of a privileged document to . . . a third party waives the attorney-

client privilege.” See, Ewald, 2014 WL 1309095, at *7 (“Waivers of privilege occurs when the



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communication is voluntarily disclosed to a third party.”); U.S. S.E.C. v. Welliver, No. 11-cv-

3076 (RHK/SER), 2012 WL 8015672, *4 (D. Minn. Oct. 26, 2012).

        Plaintiff asserts generally that “the communications were only shared among the

employees requesting legal advice and those employees directly involved in the audit either from

the collections, underwriting/sales, or audit departments.” (Mem. in Opp., [Docket No. 42], 13).

Despite Plaintiff’s lack of any specific argument for any of the Batches of documents remaining

under review, this Court will address the remaining Batches individually.

                 1. Batch 1

        Batch 1 consists of a single document. The Disputed Communications Index states that it

is identified on the Amended Redaction Log as documents number 1, 4, 107, 194, and 231. First,

the Court notes that those entries on the Amended Redaction log are not identical, which further

muddies the waters. 3 The entries list different document dates, differing information in the

“from” column of the Amended Redaction Log, different descriptions of the “document type,”

and different subject matter. For example, Document No. 1 is identified as an “Audit,” dated

August 7, 2014, from Dawn Mathison to “N/A,” and the Amended Redaction Log identifies the

subject matter as “Confidential communication with attorney reflecting legal thoughts, mental

impressions, and legal opinion.” However, the Amended Redaction Log lists the date for

Document No. 4 as August 3, 2015. The Amended Redaction Log identifies Document No. 107

as an “Audit Recommendation,” dated March 19, 2013, and describes the subject matter as

3
  The Amended Redaction Log is itself insufficient to satisfy the requirement of Federal Rule of Civil Procedure
26(b)(5)(ii) that the privilege log “describe the nature of the documents, communications, or tangible things not
produced or disclosed—and do so in a manner that, without revealing information itself privileged or protected, will
enable other parties to assess the claim.” Plaintiff’s Amended Redaction Log does not identify whether any of the
individuals it names are attorneys or give any information about the individual’s role within the corporation, nor
does it provide more than a boilerplate description of why the privilege applies. See, Luminara Worldwide, LLC v.
Liown Electronics Co., Ltd., No. 14-cv-3103 (SRN/FLN), 2015 WL 9861106, at *4 (D. Minn. Oct. 5, 2015) (finding
redaction log unsatisfactory when it failed to identify named individuals as attorneys and did not have an adequate
description of the documents).

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“Confidential communication reflecting HO legal advice and analysis of premium dispute within

audit recommendation.” The Amended Redaction Log contains no information about the author

of Document No. 107 or its recipients.

       The Court understands that the redacted information may be identical although the

documents that contain it are not. Nevertheless, when the Court is left unable to identify a

document because of inconsistencies and lack of specific information in a redaction log, the

party responsible for the log may risk waiving the privilege. See, Great Lakes Gas Transmission

Ltd. P’ship v. Essar Steel Minn., LLC, No. 09-cv-3037 (SRN/LIB), 2011 WL 13134540, *10 (D.

Minn. March 3, 2011), aff’d by 2011 WL 1486033 (D. Minn. April 19, 2011).

       Despite the confusion caused by the Amended Redaction Log, the redacted information

within Batch 1 clearly conveys a legal opinion of the corporate legal department. According to

the Amended Redaction Log, Mathison, whose role as the auditor of Defendant’s account would

create the need for her to know legal opinions regarding that account, created the document.

There is no indication that it was disseminated outside those who needed to know its contents.

Therefore, on its face, the Court finds that the information redacted from the document Plaintiff

has designated as Batch 1 is protected by the attorney-client privilege.

       Defendant argues, however, that Plaintiff has waived any privilege that attached by

placing the legal advice of counsel “at issue by affirmatively asserting, as the basis of its claims,

that the independent contractors were improperly classified on that very advice.” (Mem. in

Supp., [Docket No. 34], 20). Plaintiff denies that it has placed the legal communications or legal

counsel’s advice at issue . (Mem. in Opp., [Docket No. 42], 14-17).

       The Court notes that despite the parties’ recognition that state law governs privilege in

diversity-jurisdiction cases such as this one, both parties cite only to federal law when arguing


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this issue. Since Federal Rule of Evidence 501 and the Eighth Circuit’s interpretation of that rule

require the Court to apply Minnesota law to issues regarding privilege, the Court does so here.

       The Minnesota Supreme Court has not yet recognized an at-issue waiver of the attorney-

client privilege, although Minnesota Courts have recognized a similar waiver in relation to other

privileges. See, In re Truscott, No. A15-1767, 2016 WL 2946218, *5 (Minn. Ct. App. May 23,

2016); see also, Younggren v. Younggren, 556 N.W.2d 228, 233 (Minn. Ct. App. 1996)

(applying at-issue waiver to doctor-patient privilege). The Minnesota Court of Appeals recently

addressed at-issue waivers in the context of the attorney-client privilege, and it noted that even

when other jurisdictions have accepted this type of waiver, those jurisdictions have disagreed on

the appropriate test. In re Truscott, 2016 WL 2946218, at *6.

       The respondents in In re Truscott argued that the petitioner had placed her counsel’s legal

advice at issue by stating during a deposition that she had relied on counsel’s advice. Id. at *8-

11. The In re Truscott court noted that to find in that case the petitioner had impliedly waived the

attorney-client privilege by placing counsel’s advice at issue would allow parties to “create an at-

issue waiver simply by asking [their opponents] in depositions if they relied on the advice of

their counsel in taking an action.” Id. at *9. “Such an implied waiver could chill parties from

being candid with their counsel or even seeking legal advice.” Id.

       Instead, the In re Truscott court noted, three of the four tests used in jurisdictions that do

accept an at-issue waiver of the attorney-client privilege, including the majority test, require an

affirmative act by the waiving party. Id. at *9. The court found no such affirmative act had

occurred, Id. at *8; thus, the In re Truscott court did not determine what, if any, test Minnesota

courts should use because it found that the petitioner in In re Truscott had not as a threshold

matter even placed at issue any information covered by the attorney-client privilege. Id. at *8-10.


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       In the present case, there is a similar lack of an affirmative threshold act by Plaintiff

which could ultimately waive attorney-client privilege by putting the privileged information at

issue. As Plaintiff contends, it has not asserted that legal advice from its counsel formed the basis

of its claim or its decision to classify Defendant’s kiosk operators as employees rather than as

independent contractors. (Mem. in Opp., [Docket No. 42], 16). Nor has Defendant pointed to any

specific instance in which Plaintiff has done so. In essence rather, Defendant asserts that because

it appears as though Plaintiff’s classification of the kiosk operators as employees was actually

not supported by the conclusions of Plaintiff’s legal department, the recommendations of

Plaintiff’s legal department are necessarily at issue. (Mem. in Supp., [Docket No. 34,], 22).

       As in In re Truscott, accepting Defendant’s initial formulation of an at-issue waiver

would chill parties from seeking legal advice. Following Defendant’s logic, any time an

individual disagrees with legal advice and takes alternate action, that individual has waived

attorney-client privilege in any lawsuit resulting from the alternate action. This Court finds that

this is an overly broad application of an implied waiver of the attorney-client privilege.

       Because Plaintiff has not asserted legal advice from counsel as any part of its ultimate

decision making, premium claims, or bases for the present lawsuit, it has not placed that advice

at-issue. Therefore, Plaintiff has not impliedly waived the attorney-client privilege. In addition,

as explained above, this Court concludes, after in camera review of the Batch 1document, that it

is protected by the attorney-client privilege.

       Accordingly, this Court denies Defendant’s Motion to Compel the production of an

unredacted version of the document in Batch 1.

               2. Batch 2




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       Batch 2 consists of two emails between Zepnick, the Vice President and Managing

Director, and Douglas Jenkins, Senior Corporate Counsel. Because Batch 2 includes

communications made by a corporate officer in order to secure legal advice on a topic within the

scope of his corporate duties, the communications in Batch 2 are protected by the attorney-client

privilege. However, the header at the top of the page that begins the communications in Batch 2

indicates that the communications provided to the Court in Batch 2 ultimately came from an

individual named Ann Fitzpatrick. Plaintiff has not identified Ann Fitzpatrick, nor has Plaintiff

explained Fitzpatrick’s role in the corporate structure or how that role would make it necessary

for her to be privy to the information contained in these communications.

       Another Federal District Court within this District was faced with a similar situation and

provides guidance here. In Ewald v. Royal Norwegian Embassy, although the court had its

doubts about whether certain redacted information sought by the plaintiff was privileged, the

court noted that the defendant Embassy first had the burden to show privilege, which included

showing that each recipient of the purported privileged information had a need to know that

information. 2014 WL 1309095, at *9. In the Report and Recommendation, which the District

Court adopted in its entirety, the Court noted that the Embassy had categorized the recipients into

three “need to know” groups, but had not explained why the individuals or groups needed to

know the information. Id. at *9-10. While the court could presume that certain individuals, such

as an ambassador or the deputy chief of mission, would need to know about purported legal

matters involving employees at the Embassy, the Embassy had failed to explain why other

individuals, such as a person with the job title “archivist” or the person responsible for the

Embassy’s economic affairs, needed to know about the legal advice at issue. Id. at *10.

       The Ewald court concluded:


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        Without this information, this Court cannot determine whether these groups
        needed to know legal advice. Therefore, under the federal common law, the
        Embassy has failed to show that the attorney-client privilege attaches to
        communications between employees, and has failed to meet its burden to show
        that the privilege was not waived when [the communication] was distributed to
        third parties.

Id. at *10. Considering the two additional corporate attorney-client privilege tests used by the

Minnesota Supreme Court, the Ewald court likewise found that the Embassy’s failure to identify

the roles and responsibilities of the individuals who received the purportedly privileged

information necessarily translated into a failure to show that the privilege was not waived by that

receipt. Id.

        Similarly, in the instant case, Plaintiff has entirely failed to identify Ann Fitzpatrick. In

their Memorandum in Opposition, Plaintiffs identified the following people and their roles in the

corporation: Nicole Roy, the Commercial Lines Underwriting Manager in charge of Defendant’s

account; Tim Zepnick, Vice President and Managing Director; Guy Decosterd, Zepnick’s

superior; and Curlette Alexander, Sr. Receivables Analyst in charge of collecting the premium.

(Mem. in Opp., [Docket No. 42], 12). While this Court might assume that these individuals

needed to know about legal matters involving this audit (because Defendant has offered nothing

to the contrary), Plaintiff provides no information regarding Fitzpatrick, and it appears from the

documents provided for in-camera review that Fitzpatrick received the entire email string

represented in Batch 2.

        This Court does not know whether Fitzpatrick’s role in the corporate structure made it

necessary for her to know the information in these communications, as required under the Eighth

Circuit’s test for privilege. Nor can this Court determine whether Fitzpatrick is “in a position to

control or take substantial part in a decision about any action to be taken upon the advice of the



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attorney[,] or . . . [is] a member of a group having such authority,’” as required to satisfy the state

“control group” test. See, Ewald, 2014 WL 1309095, at *10. Nor can this Court determine

whether Fitzpatrick received the communications in Batch 2 at the direction of a supervisor and

whether “the subject matter upon which the lawyer’s advice was sought by the corporation and

dealt with in the communication was within the performance of the employee’s duties,” as

required to maintain the privilege under the state “subject matter” test. See, Leer, 308 N.W. at

308.

         Therefore, Plaintiff has failed to meet its burden to show that these communications were

not disseminated in a way that waives the corporate attorney-client privilege. This conclusion

does not depend on whether the documents are considered under the Eighth Circuit’s test or

either of the other two privilege tests used by the Minnesota Supreme Court.

         The Court grants Defendant’s Motion to Compel, [Docket No. 17], to the extent that it

requests production of unredacted versions of the communications contained in Batch 2.

                3. Batch 3

         Similarly, Batch 3 contains the same header naming Ann Fitzpatrick. As with Batch 2,

this leads the Court to believe that Fitzpatrick had access to all of the emails and information in

Batch 3. For the reasons explained above (the Court does not know who Fitzpatrick is or the

nature of her role, if any, in the corporate structure), Plaintiff has again failed to meet its burden

to show that attorney-client privilege protects these communications and has not been waived.

Even if the emails might have been privileged before they were disseminated to Ann Fitzpatrick,

Plaintiff has not met its burden to show how the privilege survived the dissemination.

         In addition, the redacted portions identified as parts 3-c and 3-d, occur in emails that were

carbon-copied to an individual named Stacie Graham. Here again, Plaintiff has provided this


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Court no information about the identity or corporate role of Graham. Therefore, even if, for the

sake of argument, this Court had not already found that the dissemination to Fitzpatrick waived

the attorney-client privilege as to all of the communications in Batch 3, it would still find that the

dissemination to Graham, whose identity is also unknown to this Court, waived the attorney-

client privilege as to the communications in parts 3-c and 3-d.

       Accordingly, the Court grants Defendant’s Motion to Compel to the extent that it

requests production of unredacted versions of the documents Plaintiff has included in Batch 3.

               4.   Batch 4

       Batch 4 also bears the Ann Fitzpatrick header, so the Court finds that for the reasons

already explained above, Plaintiff has yet again not met its burden to prove that the privilege to

the emails contained in the string that constitutes Batch 4 has not been waived. In addition, the

first email in Batch 4 is an email from Decosterd to Anita Pierce and James Slaski, and states

only “FYI,” indicating that the subsequent attached emails in the Batch (which include the

purportedly privileged communications currently redacted) were forwarded to Pierce and Slaski.

       Plaintiff has once again provided no information regarding either Pierce and Slaski or

their roles, if any, within the corporation. Plaintiff has therefore failed to meet its burden to show

that attorney-client privilege protects the information at issue that was disseminated to Pierce and

Slaski. Accordingly, this Court again finds that dissemination to Pierce and Slaski of the emails

in Batch 4 that may have included privileged information waived that privilege. Additionally,

parts 4-b, 4-f, and 4-g were carbon copied to Graham, about whom Plaintiff has also provided no

information. Thus, even if, for the sake of argument, this Court had not already found that the

dissemination to Fitzpatrick waived the attorney-client privilege as to all of the communications

in Batch 4, it could also find that the dissemination of Batch 4 to Pierce and Slaski likewise did


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so. And, at the very least, the dissemination of parts 4-b, 4-f, and 4-g to Graham waived the

attorney-client privilege with respect to those portions.

          Accordingly, the Court grants Defendant’s Motion to Compel to the extent that it

requests production of unredacted versions of the documents Plaintiff has included in Batch 4.

                 5. Batch 5

          The Court’s examination of the emails in Batch 5 further reveals the same type of

deficiency as discussed several times already. The redacted information which Plaintiff now

asserts to be protected by attorney-client privilege is contained in two emails that were both

carbon copied to Slaski, Collin Becker, and Laura Abraham, none of whom have been identified

by the Plaintiff to the Court. Thus, the Court has no way of knowing whether dissemination to

these individuals waived the corporate attorney-client privilege, and Plaintiff has once more

failed to meet its burden to even show that the privilege applies.

          Accordingly, the Court grants Defendant’s Motion to Compel to the extent that it

requests production of unredacted versions of the documents Plaintiff has included in Batch 5.

                 6. Batch 6 (Part c Only)

          As explained above, the Disputed Communications Index informs this Court that parts 6-

a and 6-b have already been produced in unredacted form, leaving only part 6-c for this Court’s

review.

          Part 6-c is contained within an email from Zepnick to Jenkins, but that email was also

carbon copied to Becker, Abraham, Slaski, and Alexander. Yet again, without knowledge as to

the corporate roles (if any) of Becker, Abraham, or Slaski, the Court finds that dissemination to

these individuals likewise as discussed above waived the attorney-client privilege as to the

information contained in the email.


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       Accordingly, the Court grants Defendant’s Motion to Compel to the extent that it

requests production of unredacted versions of the document Plaintiff has designated as part 6-c.

               7. Batch 7

       Batch 7 begins with an email that does not contain any redacted information, so is not

labeled as a subpart, which asks the recipients to review the redacted information in the email

below. Those recipients are Becker and Abraham, about whom, as the Court has already

observed, Plaintiff has provided no information. Similarly, the emails that follow, parts 7-a and

7-b, were also carbon copied to Becker, Abraham, and Slaski. Once again, Plaintiff has failed to

meet its burden to sufficiently identify these individuals or their roles within the corporation in

order to permit this Court to even consider whether disseminating the emails to these individuals

might not have waived the attorney-client privilege. Part 7-c, the final part, is Westlaw research

that was attached to the email represented in part 7-a. Because part 7-a was disseminated in a

way that waived the attorney-client privilege, so was the attached information.

       Accordingly, the Court grants Defendant’s Motion to Compel to the extent that it

requests production of unredacted versions of the documents Plaintiff has included in Batch 7.

               8. Batch 9 (Parts a, b, and d Only)

       Once again, as explained above, the Disputed Communications Index informs this Court

that part 9-c has been produced in unredacted form elsewhere; therefore, that information is no

longer before this Court for review. This Court finds that the information in each of the three

remaining subparts, as with the majority of the other previously addressed information submitted

for the Court’s review, has been disseminated to individuals unknown to this Court. All three

remaining subparts were sent to Abraham and Slaski, and part 9-d was likewise sent to Becker as

well. For the same reasons already explained repeatedly above, this Court concludes that the


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Plaintiff has failed to meet its burden to show that the attorney-client privilege (even assuming

for the sake of argument it attached) with regards to this information has not been waived.

       Accordingly, the Court grants Defendant’s Motion to Compel to the extent that it

requests production of unredacted versions of the documents Plaintiff has included in Batch 9.

       In summary, prior to conducting its in camera review relative to Sections B.1-8, above,

this Court removed from consideration the documents which have been produced unredacted

elsewhere. This eliminated from review parts 6-a, 6-b, and 9-c. The Court next struck from

consideration the batches that are wholly contained within other batches of documents submitted

for in camera review: Batches 8, 11, and 12. Third, the Court removed from consideration Batch

10 because it was outside the dates of disputed documents agreed to by the parties on the record

at the November 28, 2016, Motions Hearing.

       With regard to the remaining documents properly submitted to this Court for in camera

review, this Court finds that the information in Batch 1 is protected by the attorney-client

privilege, so denies Defendant’s Motion to Compel with respect to that document. The

remaining documents, however, have been variously disseminated to several individuals about

whom Plaintiff has failed to provide this Court any information that would allow this Court to

determine whether that dissemination waived or did not waive the attorney-client privilege (even

assuming it attached). It is Plaintiff’s burden, as the party asserting the privilege, to establish that

the privilege applies to protect the disputed communications. Plaintiff has failed to do so.

Therefore, this Court grants Defendant’s Motion to Compel to the extent that it requests

production of unredacted versions of the documents identified as Batches 2, 3, 4, 5, and 7 in their

entirety, and Batch 6 and Batch 9, subparts 6-c, 9-a, 9-b, and 9-d, respectively.

           C. The September 3, 2014, Email


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       In addition to the documents identified in the Disputed Communications Index,

Defendant asks this Court to determine whether a September 3, 2014, email from Nicole Roy to

Dawn Mathison that was purportedly inadvertently produced by Plaintiff is protected by

attorney-client privilege. (Mem. in Supp., [Docket No. 34], 13, 24-34). The parties argue about

whether the fact that no attorney was involved in the communication means there was no

attorney-client privilege to begin with, whether Plaintiff sufficiently attempted to retrieve the

document after discovering the inadvertent production, and whether Plaintiff took reasonable

steps to prevent the disclosure. (Id. at 24-27; Mem. in Opp., [Docket No. 42], 6-7). See, United

States S.E.C. v. Welliver, No. 11-cv-3076 (RHK/SER), 2012 WL 8015672, *4 (D. Minn. Oct.

26, 2012) (identifying these as the relevant factors to consider under Fed. R. Civ. P. 502 when

examining whether inadvertent disclosure waives the attorney-client privilege). These are valid

concerns, but this Court decides this issue on a simpler point.

       Upon reviewing an undredacted version of the email in question, which was submitted

under seal to this Court, the Court notes that despite Plaintiff’s description of the communication

as an email “between Nicole Roy and Dawn Mathison,” (Id. at 7), the email in question is

actually from Roy to Mathison and James Slaski. Once again, as explained in the preceding

section, Plaintiff has the burden to establish that attorney-client privilege applies to protect a

communication from disclosure, and the dissemination of a privileged communication beyond

those who need to know its contents because of their role and duties in the corporate structure

waives any attorney-client privilege. Because Plaintiff has yet again not established that Slaski

fits within these parameters, the inclusion of Slaski as a recipient of the communication in

question waives any protection of the communication even assuming for the sake of argument

that it might have come under the attorney-client privilege initially.


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         Accordingly, the Court finds that the September 3, 2014, email which Plaintiffs designate

as inadvertently disclosed shall not be clawed back by Plaintiff.

   IV.      CONCLUSION

         For the foregoing reasons, and based on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED:

   1. That Defendants’ Motion to Compel, [Docket No. 33], is GRANTED in part and

         DENIED in part, as set forth above.




Dated: January 4, 2017                                 s/Leo I. Brisbois
                                                       Leo I. Brisbois
                                                       U.S. MAGISTRATE JUDGE




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